            Case 1:08-cr-00379-AWI Document 241 Filed 07/30/14 Page 1 of 2
PROB 35 (ED/CA)
                      Report and Order Terminating Supervised Release
                              Prior to Original Expiration Date


                             UNITED STATES DISTRICT COURT
                                             FOR THE


                          EASTERN DISTRICT OF CALIFORNIA


     UNITED STATES OF AMERICA                   )
                                                )       Docket No.: 0972 1:08CR00379-04 AWI
                        v.                      )
                                                )
                  SEREY KEM                     )
                                                )
                                                )


On June 19, 2012, the above-named commenced Supervised Release for a period of 5 years.
Supervision is scheduled to terminate on March 20, 2017.

The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. Assistant United States Attorney Kevin Rooney does not oppose
early termination. It is accordingly recommended that the supervisee be discharged from
supervision.


                                      Respectfully submitted,

                                         /s/ Megan Pascual

                                          Megan Pascual
                                  United States Probation Officer

Dated:       July 24, 2014
             Fresno, California
             RM

                         /s/ Tim Mechem
REVIEWED BY:              Tim Mechem
                          Supervising United States Probation Officer


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                                                                                                Rev. 02/2014
                                                                    EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)


Re:     Serey Kem
        Docket No: 0972 1:08CR00379-04
        Report and Order Terminating Supervised Release
        Prior to Original Expiration Date



                                 ORDER OF COURT

Pursuant to the above report, it is ordered that Serey Kem be discharged from Supervised
Release, and that the proceedings in the case be terminated.




IT IS SO ORDERED.

Dated: July 30, 2014
                                       SENIOR DISTRICT JUDGE




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                                                                                        Rev. 02/2014
                                                            EARLY TERMINATION ~ ORDER (PROB35).DOTX
